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5
                              UNITED STATES DISTRICT COURT
6                   WESTERN DISTRICT OF WASHINGTON AT SEATTLE

7    NORTHWEST ADMINISTRATORS. INC.,
                                                   NO.
 8
                           Plaintiff,
 9
            V.                                     COMPLAINT TO COMPEL AUDIT
10
     AMERICOLD LOGISTICS, LLC, a
11   Delaware limited liability company,
12
                           Defendant.
13

14                                           I.


15          Plaintiff, Northwest Administrators, Inc., is an organization incorporated

16
     under the laws of the State of Washington, with its principal place of business in
17
     King County, and is the authorized administrative agency for and the assignee of
i8
     the Western Conference of Teamsters Pension Trust Fund (hereinafter "Trust").
19

                                             II.
20

21
            The Western Conference of Teamsters Pension Trust Fund is an

11   unincorporated association operating as a Trust Fund pursuant to Section 302 of

23   the Labor Management Relations Act of 1947, as amended, to provide retirement

24
     benefits to eligible participants.
25
     COMPLAINT TO COMPEL AUDIT - 1
26
                                                          Reid, McCarthy, Ballew & Leahy, L,L,P.
                                                                           ATTORNEYS AT LAW
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I

2           This Court has jurisdiction over the subject matter of this action under

3    Section 502(e)(1) and (f) of the Employee Retirement Income Security Act of 1974

4    ("ERISA"), 29 U.S.C. §1132(e)(1) and (f) and under §301(a) of the Taft-Hartley Act,
5
     29U.S.C.§185(a).
6
                                                   IV.
7
            Venue is proper in this District under Section 502(e)(2) of ERISA, 29 U.S.C.
8

9
     §1132(e)(2), because the Plaintiff Trust Fund is administered in this District.

10                                                 V.


11          Defendant is a Delaware limited liability company.

12
                                                   VI.

13
            Defendant is bound to collective bargaining agreements with Loca! 305 of the
14
     International Brotherhood of Teamsters (hereinafter "Local"), under which the
15
     Defendant is required to promptly and fully report for and pay monthly contributions
16

!7   to the Trust at specific rates for each hour of compensation (including vacations,

18   holidays, overtime and sick leave) said Defendant pays to its employees who are

19   members of the bargaining unit represented by the Local (such bargaining unit
20
     members are any of the Defendant's part time or fuli time employees who perform
21
     any work task covered by the Defendant's labor contract with the Local, whether or
Z2
     not those employees ever actually Join the Local).
23

24

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     COMPLAINT TO COMPEL AUDIT - 2
26
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                                             VII.
 1

2          Defendant accepted the Trust's Agreement & Declaration Agreement ("Trust

3    Agreement") which provides in part:

4                 Each Employer shall promptly furnish to 'the Trustees or
                  their authorized representatives on demand any and all
5
                  records of his past or present Employees concerning the
6                 classification of such Employees, their names, Social
                  Security numbers, amount of wages paid and hours
 7                worked or paid for, and any other payroll records and
                  information the Trustees may require in connection with
8
                  the administration of the Trust Fund, and for no other
 9
                  purpose. The Trustees or their authorized
                  representatives may examine any books and records of
10                each employer, which the Employer is required to furnish
                  to the Trustees on demand whenever such examination
11                is deemed necessary or desirable by the Trustees in the
                  proper administration of the Trust. If it becomes
12
                  necessary for the trustees to retain legal counsel to
13                compel an Employer to furnish to, or permit the
                  examination of books, or records or information by, the
14                Trustees or their representatives, the Employer shall
                  reimburse the Trust fund for all reasonable attorney's
15                fees and court costs incurred by the Trust Fund in
                  connection therewith, whether or not legal proceedings
16
                  were instituted and whether or not such examination
17                disclosed that the Employer has failed to make
                  appropriate or timely Employer Contributions to the Trust
18                Fund.

19                                          VIII.

20         The Trustees of the Western Conference of Teamsters Pension Trust deem

21
     it both necessary and advisable to the proper administration of the Trust that their
2Z
     authorized representatives examine the Defendant's books and records for the
23
     inclusive period of September 1, 2016 through the Present Date to determine if the
24

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     COMPLAINT TO COMPEL AUDIT - 3
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     Defendant previously reported for and paid to the Trust all of the amounts due for
1

2    the Defendant's employment of members of the bargaining unit represented by the

3    Trust for said period.

4                                             IX.

5
            Despite notification to the Defendant of the Trustees' desire to conduct an
6
     audit for the period September 1, 2016 through the Present Date, and demands
7
     made upon the Defendant on the Trust's behalf for access to Defendant's records
8

     for an examination of them for that period, to date the Defendant has failed and
9

10   refused to make its records available for the thorough examination the Trustees

11   deem necessary and advisable to the proper administration of the Trust.

12
            WHEREFORE, plaintiff, on the Trust's behalf, prays the court as follows:
13
            1. That the Court enter an Order Compelling Audit under which
14
     Defendant shall be directed by the Court, within a specified time, to make available
15
     to the authorized representatives of the Trustees of the Trust for the period
16

17
     September 1, 2016 through the Present Date:

i8
            *Roster - Employee information not listed on roster provided
19
                       :mp!oyee payroll record not included on "earnings hours" or "time
20
            punch" spreadsheets
21
        1, Barajas, G - roster and payroll
22      2. Barraza, E - roster
        3. Bracamontes, M - roster and payroll
13      4. Brickley, RJ - roster and payroll
        5. Crabtree, PR- roster
24
        6. Davidof, Yusef- roster and payroll
25
     COMPLAINT TO COMPEL AUDIT - 4
26
                                                            Reid, McCarthy^ Ballew & Leahy, L.LP.
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        7. Eberenz, Samuel R - roster and payroll
 1
        8. Espinoza, Manuel - roster and payroll
        9. Gay, Alexander - roster
2
        10. Henry, MJ - roster and payroll
3       11. Hemandez, Rafael - roster and payroll
        12,Highsnnith, Shawn T - roster and payroll
4       13. Holiday, Tim-roster
        U.lmholt, PW-roster
 5
        15.Larson, BJ - roster
6       16.Lopez, Joshua Michael - roster and payroll
        17.Mata, F-roster
 7      18-Medina-Ayala, Martin - roster and payroll
        19. Noel, Julia D ~ roster and payroll
8
        20-Rickard, N- roster
        21. Pol, C - roster and payroll
9
        22. Ramirez, Jorge - roster and payroll
10      23. Rodriguez, JD - roster and payroll
        24.Sanchez, Robert David - roster and payroll
11      25.Sanchez, Anthony F- roster and payroll
        26. Segars, DR - roster and payroll
12
        27,Serrano, C - roster and payroll
        28,Stravens, JE - roster and payroll
n
        29-Trento, PL - roster and payroll
14      SO.Wilkinson, PR - roster and payroll

15

16
            1. When was the transition from a fiscal                method to a calendar
17   reporting method? in the previous audit, your firm           on a fiscal month basis
     and is currently reporting on a calendar month basis. Pl ease advise the date/month
18   the transition occurred.

19          2. For January 2020, the reported trahsmittal shows a list of participants
     who are usually a part of a different union and location. Some participants, who are
20
     highlighted, were reported to two different accounts in the same month. Please refer
21   to the attached image, is the iist of participants reported in error on January 2020 or
     was this due to extraordinary circumstances for business need?
22
            *Atl participants highlighted in yellow (attached as Exhibit "A") were reported
23   once on January 2020. Participants highlighted in blue (attached), excluding Knight,
     Steven F, were reported to two different accounts under the same month with near
24
     full straight time hours.
25
     COMPLAINT TO COMPEL AUDIT - 5
26
                                                             Reid, McCai-thy, Ballew & Leahy, L.L.P.
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1    Questions on temporary agency personnel staffing positions and information

3
          ^ The Excel spreadsheet with TAP invoices did not include job positions. If
4            there aren't any specific job positions on the invoices, what were the tasks
             performed? Please add a column with that information.
5
          e Piease provide TAP invoice originals. Your firm only provided an Excel
6            version of the TAP invoices.

7            2. Afford to the authorized representatives of the Trustees of the Trusts

8
     both ample time and opportunity to examine all such materials of Defendant at such
9
     time and at such place as shai! be convenient to the Trustees' authorized
10
     representatives.
11

             3. For judgment against the Defendant for:
12

13                  A. All of the Plaintiff's attorney's fees incurred in gaining auditor

14                         access to Defendant's records;

15                  B. All of the Plaintiff's costs incurred in gaining auditor access to

16
                           defendant's records, and
17
                    C. For such other and further relief as the Court may deem just
18
                           and equitable.
19


20   //
21
     //
22
     //
23
     //
24
     //
25
     COMPLAINT TO COMPEL AUDIT - 6
26
                                                              Reid, McCarthy, Ballew & Leahy, L.L.R
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           DATED th is /^// day of December, 2021.

                                         REID, MCCARTHY, By               EW & LEAHY,
                                         L.L.P.




                                         Russell J. Rf^/VSBA #2560
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                                         Seattle WA 98119
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                                         Fax: (206)285-8925
                                         Email: rjr@rmbilaw.com
                                         Attorney for Plaintiff


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     COMPLAINT TO COMPEL AUDIT - 7
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